Case 2:05-cr-20258-SH|\/| Document 9 Filed 07/27/05 Page 1 of 2 Page|D 10

IN THE UNITED STATES DISTRICT COURT FiL§i" mm U.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

 

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UNITED sTATEs oF AMERICA CLtF§;.-` l __ §C£CS}UHT
riv"i»" iii z ~ -~-L_z'sii H
v. 05-20258-Ma
TERESA BELL
oRDER oN ARRAIGNMENT

 

This cause came to be heard on Q/bbé*'\ 2 7/ 9? pBe United States Attorney

for this district appeared on behalf of the gové/mment(,and the defendant appeared in person and With
counsel:

NAME £d/Vl££§ dill/91 \}/l/i //}//5- ?M%mt§:n:i/Kg)ginted.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (3 O) days from the date hereof unless, for good cause
sho to a Distriet Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRATE .TUDGE

 

CI-IARGES: 18:641;

U. S. Attomey assigned to Case: S. Parker

Age: 3?

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with Flu|e 55 and/or 32be FHCrP on __hj_.ZDg___o-j

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20258 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listedl

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

